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13
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
14
                                 WESTERN DIVISION
15
16   UNITED STATES OF AMERICA,        Case No. CV 17-00399-TJH(JCx)
17           Plaintiff,               STIPULATION AND REQUEST TO STAY
                                      CIVIL FORFEITURE ACTION PENDING
18               v.                   CONCLUSION OF RELATED CRIMINAL CASE
                                      AND TAKE JANUARY 22, 2018 PRETRIAL
19   $146,780.00 IN U.S.              CONFERENCE OFF CALENDAR; [PROPOSED]
     CURRENCY,                        ORDER THEREON LODGED UNDER SEPARATE
20                                    COVER
             Defendant.
21
22   MANUELA GOMEZ,
23                Claimant.
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           Plaintiff United States of America (the "government") and
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     claimant Manuela Gomez ("claimant"), by the signatures of their
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     attorneys hereunder, hereby stipulate and request that this
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 1   civil forfeiture case be stayed pending the conclusion of
 2   criminal proceedings filed on or about December 4, 2017 in
 3   People of the State of California v. Pedro Luis Prieto, Los
           .                  .                     .



 4   Angeles County Superior Court Case No. BA463301 (the "criminal
 5   case"), in which former claimant Pedro Prieto, whom filed his
 6   claim on February 22, 2017 (docket no. 12) and thereafter
 7   withdrew his claim on April 17, 2017 (docket no. 22), is the
 8   defendant.     As reflected in the complaint in the criminal case,
 9   a copy of which is attached hereto as Exhibit A, the criminal
10   case charges former claimant Pedro Prieto with possessing over
11   $100,000.00 in narcotic proceeds on August 29, 2016, in
12   violation of California Health and Safety Code Section
13   11370.6(a), while the instant civil forfeiture case seeks to
14   forfeit the defendant $146,780.00 in U.S. Currency seized from
15   former claimant Pedro Prieto's residence on August 29, 2016 on
16   grounds that the funds constitute traceable proceeds of
17   narcotics trafficking.        Docket No. 1 (government's civil
18   forfeiture Complaint     11   14, 15 and 18).      Accordingly, the
19   criminal case and the instant civil forfeiture litigation arise
20   out of the same facts and will involve many of the same issues
21   of fact and law, and judicial economy will be served by staying
22   this action.
23         Pursuant to 18 U.S.C.      §   98l(g),
24                (1)   Upon the motion of the United States, the court
25                      shall stay the civil forfeiture proceeding if the
26                      court determines that civil discovery will
27                      adversely affect the ability of the Government to
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 1                     conduct a related criminal investigation or the
 2                     prosecution of a related criminal case.
 3               (2)   Upon the motion of a claimant, the court shall
 4                     stay the civil forfeiture proceeding with respect
 5                     to that claimant if the court determines that -
 6                           (A)   the claimant is the subject of a
 7                                 related criminal investigation or case;
 8                           (B)   the claimant has standing to assert a
 9                                 claim in the civil forfeiture
10                                 proceeding; and
11                           (C)   continuation of the forfeiture
12                                 proceeding will burden the right of the
13                                 claimant against self-incrimination in
14                                 the related investigation or case.
15         Here, the parties agree that the matter should be stayed.
16   The government is unwilling to respond to civil discovery that
17   would result in claimant and former claimant Pedro Prieto
18   obtaining information concerning the criminal case to which
19   former claimant Pedro Prieto is not entitled under the criminal
20   rules governing California criminal proceedings.          Claimant, whom
21   has filed her claim to reflect her standing in this civil
22   forfeiture action, as well as former claimant Pedro Prieto may
23   be unable to respond to government discovery requests or provide
24   deposition testimony under oath without endangering their Fifth
25   Amendment rights.     The parties respectfully request that the
26   Court stay this civil forfeiture action until the criminal case
27   is resolved and take the January 22, 2018 pretrial conference
28   off calendar.     The government proposes that it file status

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 1   reports regarding the status of the criminal case commencing on
 2   February 1, 2018 and every ninety days thereafter to enable the
 3   Court to monitor the status of this matter.
 4                                      Respectfully submitted,
 5   Dated: December   Zf!._,   201 7   SANDRA R. BROWN
                                        Acting United States Attorney
 6                                      LAWRENCE S. MIDDLETON
                                        Assistant United states Attorney
 7                                      Chief, Criminal Division
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 9

10                                       /J/d4p
                                        VICTOR A. RODGERS
11                                      Assistant United States Attorney
12                                      Attorneys for Plaintiff
                                        UNITED STATES OF AMERICA
13

14   Dated: December12_, 2017           VICTOR SHERMAN
15

16
                                        VICTOR SHERMAN, ESQ.
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                                        Attorneys for Claimant/)~     }
18                                      MANUELA GOMEZ         ., /Ji~
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